
693 S.E.2d 916 (2010)
Sherri B. BLAYLOCK, as Guardian Ad Litem for H.L., Minor, and B.L., Minor
v.
NORTH CAROLINA DEPARTMENT OF CORRECTION-DIVISION OF COMMUNITY CORRECTIONS.
No. 503P09.
Supreme Court of North Carolina.
March 11, 2010.
Tina Hlabse, Assistant Attorney General, for North Carolina Department of Correction.
John C. Hensley, Jr., Baltimore, MD, for Sherri B. Blaylock.
Prior report: ___ N.C.App. ___, 685 S.E.2d 140.

ORDER
Upon consideration of the petition filed on the 8th of December 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. § 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
*917 "Denied by order of the Court in conference, this the 11th of March 2010."
